                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )
                                               )       Case No. 1:10-CR-110
        v.                                     )
                                               )       Chief Judge Curtis L. Collier
 MARY REVELS A/K/A “Crazy Mary”                )


                                             ORDER

        On November 1, 2011, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture and distribute five

 grams or more of actual methamphetamine or fifty grams or more of a mixture and substance

 containing a detectable amount of methamphetamine, a Schedule II controlled substance, in

 violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B), in exchange for the undertakings

 made by the government in the written plea agreement; (b) the Court adjudicate Defendant guilty

 of the charges set forth in the lesser included offense in Count One of the Indictment; (c) that a

 decision on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant

 shall remain on bond pending sentencing in this matter (Court File No. 383). Neither party filed

 an objection within the given fourteen days. After reviewing the record, the Court agrees with

 the magistrate judge’s report and recommendation. Accordingly, the Court ACCEPTS and

 ADOPTS the magistrate judge’s report and recommendation (Court File No. 383) pursuant to 28

 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;



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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser

 included offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Thursday,

 February 16, 2012, at 9:00 am.

        SO ORDERED.

        ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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